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                       UNITED STATES DISTRICT COURT

                        MIDDLE DISTRICT OF LOUISIANA


    BRENNAN ALEXANDER ELLIS                                               CIVIL ACTION

    VERSUS

    ANDREW SAUL,                                                NO. 20-00329-BAJ-EWD
    Social Security Commissioner

                                RULING AND ORDER

       Before the Court is Claimant’s appeal of the Administrative Law Judge’s (ALJ)

May 29, 2019 decision determining that Claimant is not entitled to Supplemental

Security Income (SSI) under Title XVI of the Social Security Act because Claimant’s

substance abuse is a contributing cause to his disability. On September 7, 2021, the

Magistrate Judge issued a Report and Recommendation (Doc. 15) recommending

that the ALJ’s decision be affirmed because substantial medical evidence supports

the ALJ’s findings. There is no objection to the Magistrate Judge’s recommendation.1

       Having carefully considered Defendant’s Motion, the Court APPROVES the

Magistrate Judge’s Report and Recommendation and ADOPTS it as the Court’s

opinion in this matter.

       Accordingly,

       IT IS ORDERED that the May 29, 2019 final administrative decision


1 Claimant’s objection, if any, would ordinarily be due within 14 days of service of the
Magistrate Judge’s Report and Recommendation. 28 U.S.C. § 636(b)(1). Here, however, by
General Order No. 2021-7, the Chief Judge of this District suspended all deadlines for a
period of 30 days commencing August 26, 2021, in response to the impact of Hurricane Ida.
Still, despite the extension afforded by General Order No. 2021-7, Claimant has not filed any
objection.
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determining that Claimant is not entitled to SSI under Title XVI of the Social

Security Act be and is hereby AFFIRMED.

      IT IS FURTHER ORDERED that this action be and is hereby DISMISSED

WITH PREJUDICE under sentence four of 42 U.S.C. § 405(g).

     Judgment shall be issued separately.

                        Baton Rouge, Louisiana, this 29th day of September, 2021



                                    _____________________________________
                                    JUDGE BRIAN A. JACKSON
                                    UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF LOUISIANA




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